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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

CASE NO. 19-mj-00246-NYW

UNITED STATES OF AMERICA,

               Plaintiff,

v.

RICHARD HOLZER,

               Defendant.


                  UNOPPOSED MOTION TO RESCHEDULE HEARING


       Defendant, Richard Holzer (“Mr. Holzer”), by and through undersigned counsel, Mary V.

Butterton, respectfully requests that the Detention and Preliminary Hearing currently set for

Thursday, November 7, 2019 at 10:30 a.m. be reset to Friday, November 8, 2019 at 10:00 a.m. In

support of this motion, undersigned counsel states as follows:

       1.      A Detention and Preliminary Hearing is currently scheduled for Thursday,

November 7, 2019 at 10:30 a.m.

       2.      Undersigned counsel is unable to appear for the Detention and Preliminary Hearing

on the date and time currently set due to a sentencing hearing already scheduled for 10:00 a.m. on

November 7, 2019, USA v. Robyn Ford, Case No. 19-cr-00253-RM. However, counsel is available

on Friday, November 8, 2019 at 10:00 a.m.

       3.      Counsel contacted Assistant U.S. Attorney Julia Martinez, and she does not oppose

this motion.
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       WHEREFORE, counsel respectfully requests that the Detention and Preliminary Hearing

currently set for Thursday, November 7, 2019 at 10:30 a.m. be continued to Friday, November 8,

2019 at 10:00 a.m.



                                           Respectfully submitted,

                                           VIRGINIA L. GRADY
                                           Federal Public Defender



                                           s/ Mary V. Butterton
                                           MARY V. BUTTERTON
                                           Assistant Federal Public Defender
                                           633 17th Street, Suite 1000
                                           Denver, CO 80202
                                           Telephone: (303) 294-7002
                                           FAX: (303) 294-1192
                                           mary_butterton@fd.org
                                           Attorney for Defendant




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                                 CERTIFICATE OF SERVICE

      I hereby certify that on November 5, 2019, I electronically filed the foregoing
Unopposed Motion to Reschedule Hearing with the Clerk of Court using the CM/ECF system,
which will send notification of such filing to the following e-mail addresses:

       Julia Martinez, Assistant United States Attorney
       E-mail: Julia.martinez@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following non
CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-participant’s
name:

       Richard Holzer (Via U.S. Mail)



                                            s/ Mary V. Butterton
                                            MARY V. BUTTERTON
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                                            Attorney for Defendant




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